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                        IN THE UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF OHIO- Western Division at Cincinnati
HUNTER DOSTER, et. al.                               Case No. 1:22-CV-84

       Plaintiffs

v.
FRANK KENDALL, et. al.
       Defendants

                          DECLARATION OF HUNTER DOSTER
Pursuant to 28 U .S.C. § 1746, the undersigned, Hunter Doster, makes the following declaration,

under penalty of perjury under the laws of the United States of America, that the facts contained

herein are true and correct to the best of my knowledge and belief and that such facts are made

based on my personal knowledge:

       1. My name is Hunter Doster, and I am a Plaintiff in the above captioned matter. The

           materials attached hereto in this appendix, are true and accurate copies of materials

           submitted in the ordinary course of the business of the United States Air Force,

           related to the religious accommodation requests of myself and the other Plaintiffs,

           related to the Department of the Air Force' s vaccine order.

Pursuant to 28 U.S.C. §1746, I declare under penalties of perjury under the laws of the United
States of America that the foregoing Declaration is true and correct to the best of my knowledge
and belief and that such facts are made based on my personal knowledge.


Executed on    :1/(b/.lolJ- 7~                                   ~
                    ~    I                   Hunter Doster
